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                1       Mary C. Richardson (Bar No. 208586)
                        Port Attorney
                2       mrichrdson@portoakland.com
                        Kimberly I. McIntyre (Bar No. 184648)
                3       Deputy Port Attorney
                        kmcintyre@portoakland.com
                4       PORT OF OAKLAND
                        530 Water Street
                5       Oakland, California 94607
                        Tel: (510) 627-1572 / (510) 627-1205
                6
                        Eugene M. Pak (Bar No. 168699)
                7       epak@fennemorelaw.com
                        FENNEMORE WENDEL
                8       1111 Broadway, 24th Floor
                        Oakland, California 94607
                9       Tel: (510) 834-6600 / Fax: (510) 834-1928
              10        Stephen C. Willey (Bar No. 209164)
                        swilley@fennemorelaw.com
              11        Brandi B. Balanda (Pro Hac Vice)
                        bbalanda@fennemorelaw.com
              12        Christopher J. Lindemeier (Pro Hac Vice)
                        clindemeier@fennemorelaw.com
              13        FENNEMORE CRAIG, P.C.
                        1425 Fourth Avenue, Suite 800
              14        Seattle, Washington 98101
                        Tel: (206) 749-0500 / Fax: (206) 749-0500
              15
                        Attorneys for Defendant and Counterclaimant City of
              16        Oakland, a municipal corporation, acting by and
                        through its Board of Port Commissioners (Port of
              17        Oakland)
              18

              19                                  UNITED STATES DISTRICT COURT
              20                               NORTHERN DISTRICT OF CALIFORNIA
              21
                        CITY AND COUNTY OF SAN                          Case No. 3:24-cv-02311-TSH
              22
                        FRANCISCO,
                                                                        DECLARATION OF CRAIG SIMON
              23
                                             Plaintiff,
                                                                        Date: November 7, 2024
              24
                        v.                                              Time: 10:00 AM
                                                                        Courtroom: E – 15th Floor
              25
                        CITY OF OAKLAND AND PORT OF                     Trial Date: (None Set)
                        OAKLAND,
              26
                                             Defendants.
              27


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                1
                        CITY OF OAKLAND, A MUNICIPAL
                2       CORPORATION, ACTING BY AND
                        THROUGH ITS BOARD OF PORT
                3       COMMISSIONERS (PORT OF OAKLAND),
                4                      Counterclaimant,
                5       v.
                6       CITY AND COUNTY OF SAN
                        FRANCISCO,
                7
                                       Counterclaim Defendant.
                8

                9              I, Craig Simon, declare as follows:
              10               1.      I am over the age of 18 years and am competent to testify. I make this
              11        declaration based on personal knowledge unless otherwise stated herein.
              12                                                My Background
              13               2.      I have been with the Port of Oakland (the “Port”) Aviation Division for
              14        approximately eleven years. I am currently the Port’s Director of Aviation. Prior to assuming
              15        that position, I served in roles as the Port’s Assistant Director of Aviation, Facilities Manager,
              16        and Airside Operations Superintendent.
              17               3.      My role as the Port of Oakland’s Director of Aviation continues my career
              18        managing airports in the San Francisco Bay Area. As the Port’s Aviation Director, I lead a staff
              19        of people responsible for the management of the San Francisco Bay Oakland International
              20        Airport (the “Airport” or “OAK”). In doing so, I am familiar with the Airport’s business,
              21        records, and industry relationships.
              22               4.      Before joining the Port of Oakland, I worked for eleven years at the San José
              23        Mineta International Airport (SJC) in various positions leading airside activities, airport
              24        operations, noise abatement, ground transportation, and parking control.
              25               5.      Given my current and past roles with the Port, in the aviation industry more
              26        broadly, as a long-time resident of the San Francisco Bay Area, and as a pilot, I am familiar
              27        with the history and geographic location of the Airport, its operations, the benefits that OAK’s

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                1       location offers travelers, and how the Port has sought to emphasize the Airport as distinct and

                2       uniquely able to offer easy and convenient air travel into and out of the Bay Area.

                3              6.        I am also familiar with how airport names and International Air Transport

                4       Association (IATA) codes are generally used, given my work and experience in the aviation

                5       industry and personal experience as a traveler.

                6            The Airport’s Geographic Location on San Francisco Bay and Distinct Identity

                7              7.        I understand that OAK was originally named the Oakland Municipal Airport,

                8       and was built in 1927. I also understand that OAK still occupies its original location as

                9       expanded. The Airport is on the shores of the San Francisco Bay, with its main commercial

              10        runways sitting atop the Bay. Below is an accurate depiction of the Airport’s geographic

              11        location:

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                                                                            OAK Airport
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              19                    San Francisco Bay
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              16               8.      OAK’s position on the San Francisco Bay means that it is a convenient entry

              17        point for airline passengers into the Bay Area and for Bay Area residents traveling out of the

              18        region by air. Because of where it sits, the Airport is more protected from fog, which can

              19        disrupt and delay flight arrivals and departures, than other places in the Bay Area.

              20               9.      Given the Airport’s location, Bay Area residents and visitors can easily travel

              21        from the Airport into downtown Oakland, downtown San Francisco, wine country, to major

              22        universities, and other local Bay Area businesses, sights and attractions.

              23               10.     Based upon my understanding of population and related catchment area data for

              24        the Airport, OAK is the closest airport for a large portion of the Bay Area population and

              25        especially East Bay residents.

              26

              27


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                1              11.     The Airport is also connected to public transit, including a direct rail connection

                2       into the San Francisco Bay Area Rapid Transit District (“BART”) system. Below is an accurate

                3       depiction of the current BART rail system map:

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              21               12.     The direct rail connector was added in 2014, and before that, an AirBART

              22        shuttle bus serviced OAK.

              23               13.     OAK is well situated to serve San Francisco Bay Area residents and visitors, and

              24        the Port seeks to emphasize and enhance the convenience that the location of its Airport offers

              25        by focusing on making OAK an easy, efficient, and hassle-free travel experience.

              26               14.     My goal – and the Port’s goal – in running OAK is to have people think of OAK

              27        as a distinct and additional option for air travel into and out of the San Francisco Bay Area. In


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                1       this regard, the Port has maintained the Airport’s distinct identity and ties to Oakland

                2       throughout its history through today.

                3                15.   For example, OAK prides itself in providing an array of concessions that

                4       showcase the extensive and unique food and beverage, as well as retail, offerings from Oakland

                5       and the greater East Bay. OAK’s latest food and beverage concessions program, beginning in

                6       2019, has focused on incorporating local concepts. The Airport’s local offerings include

                7       Oakland-based restaurants such as Calavera, Southie, and Tay Ho, as well as the Berkeley-

                8       based Cancún Sabor Mexicano. OAK also has 16 retail locations that promote local merchants.

                9                16.   We are not trying to “copycat” SFO (the San Francisco International Airport), or

              10        to have OAK be associated with or understood to be a part of SFO.

              11                 17.   I understand that the Airport received its IATA code (OAK) in around the

              12        1930s, which it has used ever since and which it intends to continue using. The Port has no

              13        plans of seeking any change to this code.

              14                 18.   OAK’s IATA code is used to identify the Airport, including for the purpose of

              15        airline ticket sales, providing passenger information, baggage routing, and other logistics.

              16                 19.   In later years, and as discussed in more detail in the Declaration of John

              17        Albrecht, the Port built on the ubiquitous use of OAK’s unique IATA code as the way people

              18        identify its Airport by introducing a brand campaign and “I Fly OAK” logo. This is an accurate

              19        depiction of that logo:

              20

              21

              22                 20.   As is also discussed in Mr. Albrecht’s declaration, the “I Fly OAK” logo and

              23        branding has been used ever since and is prominently featured throughout the Airport and on

              24        the Port’s marketing materials.

              25                 21.   Over the decades, the Port has complemented OAK’s identity and brand with

              26        messaging that seeks to communicate that OAK is part of and serves the San Francisco Bay

              27        Area.


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                1              22.      For example, in the 1970s, the Port marketed OAK as “The Easy Way Around

                2       San Francisco Bay.” Its advertising boasted that OAK’s “main runway is 10,000 feet long on

                3       the shore of the San Francisco Bay with completely unobstructed overwater approaches at each

                4       end.” Attached hereto as Exhibit A is a true and correct copy of the advertising containing this

                5       slogan from Port records.

                6              23.      As discussed in more detail in Mr. Albrecht’s declaration, the Port has sought to

                7       communicate OAK’s location on the San Francisco Bay and that it is a part of and serves the

                8       San Francisco Bay Area in the decades since and through to today.

                9                    Challenges to Route Development Caused by Lack of Awareness Regarding
                                                 OAK’s Geographic Location on San Francisco Bay
              10
                               24.      Despite OAK’s long history, prime location, and marketing messages, the Port
              11
                        has faced challenges attracting and maintaining direct routes that data suggests should be
              12
                        supportable given the population of the San Francisco Bay Area, particularly the East Bay, and
              13
                        industry information.
              14
                               25.      In recent years, the Port’s Aviation Division has researched, assessed, and
              15
                        worked on that issue. This has involved analysis, discussions with airlines, and engaging
              16
                        consulting firms to provide input and services regarding route development, such as data
              17
                        analysis regarding OAK’s catchment area, marketing, and studies of consumer awareness of
              18
                        OAK’s geographic location.
              19
                               26.      This work highlighted two main challenges.
              20
                                        a.      First, as I understand it, many travelers outside of the Bay Area are not
              21
                        familiar with OAK’s geographic location on the San Francisco Bay nor do they understand that
              22
                        OAK is part of the Bay Area. If someone is not aware of OAK’s geographic location or that it
              23
                        is part of and serves the San Francisco Bay Area, it seems they would not directly search for
              24
                        flights to OAK or “Oakland” as an option for travel to the area.
              25
                                        b.      Second, I understand that airlines, online travel agents, and other online
              26
                        flight search websites use data feeds and/or their own algorithms and sorting rules to display
              27


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                1       flight search results, which may involve alphabetical and/or area groupings and/or the use of

                2       back-end codes such that OAK flights are not routinely or consistently displayed when people

                3       search for flights using “San Francisco Bay” or “San Francisco” as a keyword.

                4               27.    These issues compound in ways that impact the Airport’s ability to secure and

                5       maintain airline routes that otherwise should be supported given the population of the Bay Area

                6       and related travel information. This is discussed in more detail in the Declaration of Dr. Sabine

                7       Reim.

                8               28.    In connection with this work, the Aviation Division evaluated whether to

                9       potentially recommend that the Port modify OAK’s full name, then the “Metropolitan Oakland

              10        International Airport,” to incorporate its geographic location on San Francisco Bay.

              11                29.    The Aviation Division studied different potential name variations and engaged

              12        with internal and external stakeholders on this issue.

              13                      Recommendation to Incorporate OAK’s Location Into its Name

              14                30.    To help address this issue – both as a means to educate travelers about OAK’s

              15        location and to help OAK flights appear as options for travel in response to searches for flights

              16        to the San Francisco Bay Area, the Aviation Division, together with the Port’s Executive

              17        Director, ultimately recommended that the Board of Port Commissioners consider and approve

              18        incorporating the Airport’s geographic location into its full name by replacing the generic word

              19        “Metropolitan” with “San Francisco Bay.”

              20                31.    The Aviation Division received support and positive feedback from industry

              21        partners regarding this recommendation.

              22                32.    After receiving our proposal, in March 2024, the Port publicly announced the

              23        name modification would be considered by the Board at its April 2024 meeting.

              24                33.    Several airlines made public statements supporting the proposal. For example,

              25        attached hereto as Exhibit B is a true and correct copy of a Press Release issued by the Port,

              26        dated April 9, 2024, which contains statements the Port received from Southwest Airlines,

              27        Volaris, and Spirit Airlines as follows:


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                1                      a.      A statement from Southwest Airlines says: “Oakland helped put us on

                2       the map in California and we’re wholeheartedly supportive of this rebranding that

                3       acknowledges OAK’s economic position and influence in the San Francisco Bay area while

                4       staying true to its Oakland roots.” “With a more relevant and contemporary naming convention,

                5       Oakland’s international airfield sitting closest to both major population centers and a density of

                6       corporate employers has a newfound regional draw and instantly gains even more visibility

                7       among those around the world shopping for air travel to the Bay Area.”

                8                      b.      A statement from Volaris says, in pertinent part: “We support efforts to

                9       make the Oakland Airport more identifiable within the vibrant San Francisco Bay region. We

              10        commend the proposal to rename OAK to San Francisco Bay Oakland International Airport,

              11        aligning its identity with the iconic Bay Area it serves.”

              12                       c.      A statement from Spirit Airlines says, in pertinent part: “We believe this

              13        change will help our Guests better understand their options to reach the Bay Area with our

              14        affordable flights and explore everything the region has to offer.”

              15               34.     On April 11, 2024, I attended the Board’s public meeting and presented the

              16        Aviation Division’s formal recommendation to change the word “Metropolitan” to “San

              17        Francisco Bay” in the Airport’s full name to identify where OAK is physically located.

              18               35.     As part of my presentation, I provided background information upon which the

              19        recommendation was based emphasizing OAK’s convenience, closeness to the majority of the

              20        San Francisco Bay Area population, strong economic impact, and community engagement such

              21        as showcasing local restaurants as concessionaires. Attached hereto as Exhibit C is a true and

              22        correct copy of the PowerPoint slideshow I displayed during the April 11, 2024 Board Meeting.

              23               36.     I also provided the Board and public attending the meeting with information

              24        about how updating OAK’s name to anchor it in its geographic region was an important part of

              25        the Port’s efforts to strengthen and grow the Airport as an economic engine for Oakland and the

              26        Greater Bay Area. Id. at 2.

              27


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                1                 37.     In addition, I emphasized that while the name was being modified, Aviation

                2       would not seek to have the Airport’s IATA code changed and instead would maintain its IATA

                3       code and I Fly OAK logo and related branding, as these are part of OAK’s unique identity and

                4       brand. Id.at 6.

                5                 38.     After I presented, the Port’s Executive Director Danny Wan provided further

                6       comments and members of the public then shared various opinions and commentary regarding

                7       the proposal.

                8                 39.     After discussion concluded, the Board unanimously voted to approve the first

                9       reading of the Ordinance by which OAK’s full formal name would be modified by replacing

              10        the word “Metropolitan” with “San Francisco Bay.” This was the first of two votes by the

              11        Board required to implement any change to the Airport’s formal name.

              12                  40.     The Board then scheduled the second public meeting regarding consideration of

              13        the name modification proposal to be held on May 9, 2024, to allow for further discourse and

              14        engagement.

              15                  41.     On May 9, 2024, I attended the Board’s second meeting discussing OAK’s

              16        proposed name modification.

              17                  42.     I again provided input regarding the importance of OAK as an airport with a

              18        strong community connection, unique offerings to travelers, and as an economic driver for the

              19        region.

              20                  43.     As part of my presentation, I refreshed the Board regarding the reasons for our

              21        recommendation in this regard.

              22                  44.     After further discussion and the consideration of additional input, opinions, and

              23        commentary, the Board voted unanimously to finally pass the Ordinance that changed OAK’s

              24        name from the “Metropolitan Oakland International Airport” to the “San Francisco Bay

              25        Oakland International Airport.”

              26

              27


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                1                                    Implementation of OAK’s New Full Name

                2              45.     Subsequent to Board approval, we implemented the Airport’s new name by

                3       taking several steps.

                4              46.     We informed industry partners and participants regarding OAK’s name change.

                5              47.     The Port also revised OAK’s digital materials, including both the Port and the

                6       Airport’s websites, to reflect OAK’s updated full name – San Francisco Bay Oakland

                7       International Airport – and changed physical signage at the Airport.

                8              48.     We still use the Airport’s I Fly OAK signage throughout the facilities and have

                9       no plans to change those signs, but there are two prominent physical signs that do contain the

              10        Airport’s prior name, and those are in the process of being updated and replaced.

              11               49.     We submitted the new name to the Federal Aviation Administration (the

              12        “FAA”) for approval and implementation. That process took several months. The FAA has set

              13        time periods during which airports may submit for aeronautical data changes. My

              14        understanding from FAA materials is that the FAA considers the requested change, and then

              15        must authorize its implementation. Attached hereto as Exhibit D is a true and correct copy of

              16        the current FAA Aeronautical Data Team Cut-Off Dates, available at

              17        https://www.faa.gov/air_traffic/flight_info/aeronav/aero_data/NFDC_CutOff_Dates/.

              18               50.     On September 5, 2024, approximately four months after the Port applied with

              19        the FAA, the FAA officially accepted the modification of OAK’s full name to San Francisco

              20        Bay Oakland International Airport.

              21               51.     Implementation by the FAA included, for example, updating aeronautical charts

              22        and approach plate information.

              23               52.     The following airlines currently service OAK: Advanced Air; Alaska Airlines;

              24        Allegiant Air; Delta Air Lines; Hawaiian Airlines; Horizon Air; JSX; KaiserAir; SkyWest

              25        Airlines; Southwest Airlines; Spirit Airlines; Sun Country Airlines; VivaAerobus; Volaris; and

              26        Volaris El Salvador.

              27              53.     Attached hereto as Exhibit E is a true and correct copy of OAK’s Monthly

                        Activity Report for July 2024, which also shows passenger totals for the same month last year,
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